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                                                                            #: 583#: 349
Case Case
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                                                                            #: 584#: 350
Case Case
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Case Case
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                                                                            #: 588#: 354
Case Case
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                                                                            #: 589#: 355
Case Case
     3:11-cv-00050-RLJ-HBG  Document
           3:09-cv-00197 Document 23 33-3  Filed 12/02/11
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   Case                    Document
        3:09-cv-00197 Document      33-305/21/09
                               23 Filed   Filed 12/02/11
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                                     357
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   Case                    Document
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                                                                        #: 592 #:
                                     358
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   Case                    Document
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